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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

 UNITED STATES OF AMERICA                      )
                                               )
                v.                             ) Criminal No. 24-10090-WGY
                                               )
  WALTER NORTON,                               )
                                               )
                Defendant                      )
                                               )

                       INFORMATION PURSUANT TO 21 U.S.C. § 851

       Pursuant to Title 21, United States Code, Section 851, the United States files this Information

giving notice that at the sentencing of defendant Walter Norton, the United States will seek increased

punishment by reason of the following:

       Before the defendant, Walter Norton, committed the offenses charged in this case, the defendant

had been convicted of conspiracy to distribute cocaine, in violation of Title 21, United States Code,

Section 846 (see United States v. Walter Norton, District of New Hampshire Case 1:04-cr-00057-JD), a

serious drug felony, for which the defendant served a term of imprisonment of more than 12 months,

and for which the defendant’s release from any term of imprisonment was within 15 years of the

commencement of the instant offense.

       As a result of that conviction, the defendant, Walter Norton, is subject to increased punishment

under Title 21, United States Code, Section 841(b)(1)(A)(viii).

                                                   Respectfully submitted,

                                                   JOSHUA S. LEVY
                                                   Acting United States Attorney

                                           By:     /s/ Katherine Ferguson
                                                   KATHERINE FERGUSON
                                                   Assistant U.S. Attorney

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                                    CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent electronically to the
registered participants as identified on the Notice of Electronic Filing (NEF) and paper copies will be
sent to those indicated as non- registered participants.


                                             By:     /s/ Katherine Ferguson
                                                     KATHERINE FERGUSON
                                                     Assistant U.S. Attorney


Date: April 23, 2024




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